      Case 6:23-cv-00013 Document 19 Filed on 03/27/23 in TXSD Page 1 of 1
                                                                                             United States District Court
                                                                                               Southern District of Texas

                                                                                                  ENTERED
UNITED STATES DISTRICT COURT                                       SOUTHERN DISTRICT OF TEXAS
                                                                                      March 27, 2023
                                                                                               Nathan Ochsner, Clerk

                   Motion and Order for Admission Pro Hac Vice

      Division         Victoria                             Case Number              6:23-cv-00013

                                          State of Texas, et al.


                                                   versus
                    Bureau of Alcohol, Tobacco, Firearms and Explosives, et al.



           Lawyer’s Name                 Jody D. Lowenstein
                Firm                     U.S. Department of Justice, Civil Division, Federal Programs Branch
                Street                   1100 L Street NW
                                         Washington, DC 20005
          City & Zip Code
                                         (202) 598-9280
         Telephone & Email               jody.d.lowenstein@usdoj.gov
      Licensed: State & Number           Montana Bar No. 55816869
       Federal Bar & Number


 Name of party applicant seeks to                                  All Defendants
 appear for:


                                                                                  ✔
 Has applicant been sanctioned by any bar association or court? Yes _______ No ________

 On a separate sheet for each sanction, please supply the full particulars.


 Dated:       3/25/2023        Signed:                        /s/ Jody D. Lowenstein



 The state bar reports that the applicant’s status is: Active


 Dated: March 27, 2023         Clerk’s signature



              Order
                                                   This lawyer is admitted pro hac vice.

Dated:    March 27, 2023
                                                            United States District Judge
